                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )         MATTICE/CARTER
                                                )
        v.                                      )         CASE NO. 1:13-CR-89
                                                )
 JUANZELL JENKINS                               )



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on June 30, 2015. At

 the hearing, defendant entered a plea of guilty to Count One of the Superseding Indictment in

 exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent to

 enter an informed plea; that the plea is made knowingly and with full understanding of each of the

 rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; that the defendant understands the nature

 of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count Two of the Superseding

 Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in Count

 Two of the Superseding Indictment, and that the written plea agreement be accepted at the time of

 sentencing. I further recommend that defendant remain in custody until sentencing in this matter.

 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

 sentence are specifically reserved for the district judge.

        The defendant=s sentencing date is scheduled for Monday, November 9, 2015, at 2:00

 pm.

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                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




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